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                    IN THE UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

VEDERRA HOLDINGS LLC,                     §
                                          §
             Plaintiff,                   §
                                          §
V.                                        §          No. 3:23-mc-38-K-BN
                                          §
GLOBAL EQUITY PARTNERS, LLC               §
and GARY DEON JEFFERSON,                  §
                                          §
             Defendants.                  §

          ORDER ACCEPTING FINDINGS AND RECOMMENDATION
              OF THE UNITED STATES MAGISTRATE JUDGE

      After making an independent review of the pleadings, files and records in this case,

and the Findings, Conclusions, and Recommendation of the United States Magistrate

Judge dated July 15, 2024 [Dkt. No. 13], the Court finds that the Findings, Conclusions,

and Recommendation of the Magistrate Judge are correct and they are accepted as the

Findings, Conclusions, and Recommendation of the Court.

      IT IS, THEREFORE, ORDERED that the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge are accepted.

      The Court GRANTS Plaintiff Vederra Holdings, LLC’s Motion to Consider First

Amended Motion for Post-Judgment Receivership [Dkt. No. 7] and, having considered




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the Motion, the Court DENIES Plaintiff Vederra Holdings, LLC’s First Amended Motion

for Post-Judgment Receivership [Dkt. No. 5].

      SO ORDERED.

      Signed August 13th, 2024.


                                      _________________________________________
                                      ED KINKEADE
                                      UNITED STATES DISTRICT JUDGE




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